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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

    Case No.     CV 85-4544 DMG (AGRx)                                      Date   September 21, 2020

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    Present: The Honorable       DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                  KANE TIEN                                                NOT REPORTED
                  Deputy Clerk                                              Court Reporter

       Attorneys Present for Plaintiff(s)                          Attorneys Present for Defendant(s)
                None Present                                                 None Present

   Proceedings: IN CHAMBERS—ORDER RE DEFENDANTS’ EX PARTE
                APPLICATION TO STAY [985]

           On September 4, 2020, the Court granted Plaintiffs’ Motion to Enforce the Flores
   Settlement Agreement (“Agreement” or “FSA”) as to Class Members detained by the Department
   of Homeland Security (“DHS”) under 42 U.S.C. section 265 (“Title 42”). [Doc. # 976 (“Sept. 4
   Order”).] The Court found that minors held by DHS pursuant to a public health order under Title
   42, designed to prevent the introduction of certain persons into the United States due to the
   COVID-19 pandemic, are Flores Class Members, and holding such Class Members in unlicensed
   hotels violates the Agreement. Id. The effective date of the Sept. 4 Order was originally set for
   September 8, 2020, and Defendants were to stop placing minors in hotels by September 15. On
   September 11, Defendants petitioned the Ninth Circuit to stay the Court’s Order pending appeal.
   9th Cir. No. 20-55951, Doc. # 2. The Ninth Circuit denied the emergency motion without
   prejudice, directing Defendants to first bring their request for a stay to this Court, and extended an
   administrative stay of the Sept. 4 Order to September 23, 2020. 9th Cir. Doc. # 8. On September
   17, Defendants filed the instant Ex Parte Application to Stay the Sept. 4 Order pending appeal.
   [Doc. # 985.] Plaintiffs oppose the Stay Application. [Doc. # 988.]

          For the following reasons, Defendants’ Stay Application is DENIED.

                                                I.
                                         LEGAL STANDARD

           When determining whether to issue a stay, courts consider the following four factors: (1)
   whether the stay applicant has made a strong showing that it is likely to succeed on the merits; (2)
   whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay
   will substantially injure the other parties interested in the proceeding; and (4) where the public
   interest lies. Leiva-Perez v. Holder, 640 F.3d 962, 964 (9th Cir. 2011) (quoting Nken v. Holder,
   556 U.S. 418, 426 (2009)).


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                                                      II.
                                                  DISCUSSION

   A.      Likelihood of Success on the Merits

           Defendants fail to show they are likely to succeed on the merits for the simple reason that
   their Stay Application merely recycles the same arguments they made in their Opposition to the
   Motion to Enforce, which the Court thoroughly addressed and refuted in its Order. See generally
   Sept. 4 Order.

            In brief, Defendants point no authority to support their position that the Flores
   Agreement—a document fundamentally about the care and welfare of children—defines “legal
   custody” as the source of legal authority to detain the child, rather than the well-established
   definition under family law. See Sept. 4 Order at 5–6, 8–9. Nor do they provide any support for
   their bewildering logic that a public health law designed to prevent the introduction of persons and
   diseases into the United States somehow allows DHS to detain minors in hotels open to the
   American public but not house them in monitored, regulated, licensed facilities. See id. at 10–11.
   Or for the notion that hoteling is a lawful means of processing minors “as expeditiously as
   possible” when the program makes no good faith effort to actually place minors in licensed
   facilities. See id. at 12–13.

           The only new information Defendants provide that at all speaks to the merits is additional
   facts relating to ICE’s contract with MVM (the private contractor that runs the hoteling program)
   and the training of its “transportation specialists.” See Harper Decl., Attachments A, B, and C
   [Doc. # 985-1 at 25–114]. But the fact that MVM personnel receive a mere two days of training,
   only a fraction of which are dedicated to child development and care, before being placed alone in
   a room with a tender age child for hours at a time reaffirms the Court’s finding that hoteling is not
   suitable for unaccompanied minors. See Sept. 4 Order at 13–14. And Defendants misunderstand
   the September 4 Order when they assert that the Court’s reasoning imposes a “system of care”
   requirement that is not found in the Flores Agreement. The Court did not demand any formal
   system of care beyond one that is safe and sanitary, appropriate to minors’ ages and special needs,
   and concerned for their particular vulnerability as minors. See id. at 14 n.9 (citing FSA at ¶¶ 11–
   12.A).1



           1
             Defendants do not even bother attempting to argue why they are likely to succeed on a challenge to the
   Court’s holding that hoteling is unsafe with respect to protecting minors from COVID-19, or that it denies them
   adequate access to counsel. See Sept. 4 Order at 15–16.

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   B.       Irreparable Harm Absent a Stay

          Defendants argue that transferring minors in Title 42 custody to ORR licensed facilities
   and ICE Family Residential Centers (FRCs) risks overwhelming the adjusted, pandemic-
   appropriate capacities of these congregate facilities. See Stay Application at 10–14.

           In particular, Defendants maintain that although the facilities have significant capacity, the
   real problem lies with the intake process. Sept. 17, 2020 Sualog Decl. at ¶¶ 5–8. [Doc. # 985-1].
   They claim that “under the current infection control measures, there are limits to the number of
   [unaccompanied minors] that ORR can safely absorb into the system at any one time,” and that
   “the ORR system would likely come under significant stress if ORR were to begin to receive on a
   regular basis approximately 75 to 100 referrals of UAC per week, with approximately 30% of the
   UAC having tested positive or been exposed to COVID-19.” Id. at ¶¶ 9–10; see also Hott Decl.
   at ¶¶ 6–8 [Doc. # 985-1] (similar rationale for FRCs).

            But Defendants provide no basis of support for these underlying factual contentions, which
   appear to be highly speculative. First, according to data Defendants offered for the Motion to
   Enforce briefing, from March through July, 577 unaccompanied minors were detained in hotels
   under Title 42. See Sept. 4 Order at 3. Now Defendants purport that 75 to 100 minors per week
   would need to be placed in ORR facilities.2 Second, they offer no explanation for the premise that
   a full 30% of unaccompanied minors will have been “exposed” to COVID-19, such that they would
   require quarantine or isolation upon intake. None of Defendants’ declarants are public health
   officials, and they provide no scientific or empirical analysis by which they reach this assumption.
   These conclusory assertions are insufficient to support a finding of irreparable harm. See Doe #1
   v. Trump, 957 F.3d 1050, 1059–60 (9th Cir. 2020) (“The government cannot meet this burden by
   submitting conclusory factual assertions and speculative arguments that are unsupported in the
   record.”); Nken, 556 U.S. at 434 (“[S]imply showing some possibility of irreparable injury fails to
   satisfy the second factor.”).

           Moreover, even if absorbing Title 42 minors into ORR facilities does in fact create a
   “bottleneck,” see Sept. 17, 2020 Sualog Decl. at ¶ 8, the Sept. 4 Order expressly contemplates the
   possibility of brief hotel stays as “a temporary stopgap in the process of cautiously sending children

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               Defendants apparently now contend that 2,200 unaccompanied minors were referred to ICE by CBP for
   Title 42 custody. Ortiz Decl. at ¶ 6 [Doc. # 985-1]. They provide no explanation for the discrepancy between the 577
   number used just a few weeks ago and the 2,200 number deployed now. This is not the first time Defendants have
   offered inconsistent data. See Sept. 4 Order at 4 n.2. The fact that the government cannot seem to consistently keep
   track of how many children it has held in its custody is disturbing, to put it mildly. It is emblematic of the problem
   with such an opaque, unregulated, ad hoc program.

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   to licensed facilities with all deliberate speed given the extenuating circumstances of the
   pandemic.” Sept. 4 Order at 12; see also id. at 17 (“If other exigent circumstances arise that
   necessitate future hotel placements, Defendants shall immediately alert Plaintiffs and the
   Independent Monitor, providing good cause for why such unlicensed placements are necessary.”).
   In short, nothing in the Court’s Sept. 4 Order prevents an orderly and safe system of staged
   transfers that considers public health needs as well as logistical issues. Defendants’ alleged harm
   is not irreparable when it can be avoided while still complying with the Court’s Order.

   C.     Injury to Parties Caused by a Stay

            Of course, any harm to minors that may result from increased intake at ORR and FRCs
   must be balanced against the harm of continuing the hoteling program. It is no contest. The Court
   discussed in detail the danger that unlicensed, unmonitored detention in hotels poses to
   unaccompanied minors. See Sept. 4 Order at 13–16. Even in terms of the threat of COVID-19,
   the very reason Defendants do not want to send minors to ORR facilities, “Defendants have failed
   to demonstrate how hotels, which are otherwise open to the public and have unlicensed staff
   coming in and out, located in areas with high incidence of COVID-19, are any better for protecting
   public health than licensed facilities would be.” Sept. 4 Order at 10. Not only are the minors and
   their families potentially endangered by hoteling, but so are MVM personnel, hotel staff, and other
   guests that stay at the hotels. Even if the infection control protocols at ORR come under some
   stress, or are forced to make some adjustments, the Court is confident that they would remain far
   safer than unregulated hotel stays for both detained minors and the general public. Moreover,
   there are sufficient numbers of currently under-utilized ORR facilities such that transfers can be
   allocated among facilities to avoid over-concentration or bottlenecking. To the extent that
   Defendants raise concerns with the safety risks of travel to accommodate transfers, they were
   already subjecting minors to significant travel under the hoteling program. See Levy Decl. at ¶ 7
   [Doc. # 988-1] (“Children are frequently moved from facility to facility without warning, and
   without being told their location.”).

           In an effort to maintain a static population at ORR facilities and FRCs, Defendants’
   position amounts to leaving hundreds of minors stranded “in a legal [and public-health] no-man’s
   land, where no enforceable standards apply.” Sept. 4 Order at 17. The Flores Agreement does
   not sanction such arbitrary discrimination between its Class Members.

   D.     Public Interest

         The public has an interest in protecting the welfare of children. Prince v. Massachusetts,
   321 U.S. 158, 165 (1944). Congress affirmed the public’s interest in enforcing the Flores

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   Agreement when it preserved the Agreement and codified its requirement that detained
   unaccompanied minors be transferred to the custody of ORR. See 8 U.S.C. § 1232; Flores v.
   Sessions, 862 F.3d 863, 870–71, 879 (9th Cir. 2017). The public also has an interest in preventing
   the spread of COVID-19, and as this Court has now reiterated on multiple occasions (and as
   Defendants have yet to refute), placing minors in licensed, regulated facilities, with proper safety
   protocols, would likely do more to mitigate the spread of the virus than housing them in hotels
   open to the public.

                                                III.
                                            CONCLUSION

          Defendants’ Stay Application is DENIED. The Court ORDERS that the September 4,
   2020 Order shall be effective as of September 28, 2020, in full, subject to the following
   modifications:

      1. DHS shall cease placing minors at hotels immediately as of this new effective date.

      2. DHS may implement brief hotel stays (not more than 72 hours) as necessary and in good
         faith to alleviate bottlenecks in the intake processes at licensed facilities. When any Class
         Members are transferred to hotels for this purpose, Defendants shall notify Plaintiffs’
         counsel and the Independent Monitor, providing the identities and number of minors
         subject to the hotel placements, and the locations of the hotels. These hotel placements
         shall be subject to Paragraphs 4–6 of the Conclusion in the Sept. 4 Order.


   IT IS SO ORDERED.




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